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ATTORNEYS FOR DEFENDANT
UNITED STATES OF AMERICA


                                           IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF MONTANA
                                                     BILLINGS DIVISION

    JANET JEAN BIG LAKE, as Personal
    Representative of the Estate of Ruben                                    CV 19-62-BLG-SPW-TJC
    Stewart and on behalf of the ESTATE
    OF RUBEN STEWART, and                                                    BRIEF IN SUPPORT OF
    LaVERNE WILLIAMSON BIG                                                   SECOND UNOPPOSED MOTION
    HAIR, on her own behalf,                                                 TO EXTEND DEADLINES DUE
                                                                             TO COVID-19
                                                           Plaintiffs,

                           vs.

    UNITED STATES OF AMERICA and
    it’s agency, Department of the Interior
    Bureau of Indian Affairs,

                                                           Defendant.



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                 The United States, by and through its counsel, moves to extend the expert,

discovery and motions deadlines set forth in this Court's Scheduling Order dated

April 23, 2020. (Doc. 23) The bases for this Motion are as follows:

                 1.               In response to the COVID-19 pandemic, the Crow and Northern

Cheyenne Tribes have imposed travel and personal contact restrictions on their

respective reservations. These restrictions have prevented Defendants from

conducting depositions of the many fact witnesses who reside on the reservations,

as well as a Fed. R. Civ. P. 34(a)(2) inspection of the land where the incident that

gave rise to this suit took place. At the filing of this motion, the travel and access

restrictions are still in effect on the reservations and will not expire until August

31, 2020.

                 2.               At least one of the attorneys involved in this matter falls within a high

risk category.

                 3.               Counsel for the United States is currently trying to determine how

best to arrange depositions with witnesses located on the reservations, but requires

an extension to schedule the depositions and obtain transcripts to share with

experts.

                 4.               The fact witnesses located on the reservation possess information that

will impact the experts’ decisions in this matter.

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                 5.               Defendant therefore proposes a 60-day extension of the remaining

scheduling deadlines set forth in the Scheduling Order (doc. 23) as follows:

                 Disclosure of Plaintiff's
                 Damages Expert and Simultaneous
                 Disclosure of Liability Experts:                      October 13, 2020

                 Disclosure of Defendant’s
                 Damages Experts:                                      November 17, 2020


                 Disclosure of Rebuttal Expert
                 Disclosures:                                          30 days after other
                                                                       party’s disclosure

                 Discovery Deadline (discovery
                 must be served so that responses
                 are due on or before this date):                      December 29, 2020

                 Motion for Settlement Conference
                 Before a U.S. Magistrate:                             December 29, 2020

                 Motions Deadline (except
                 Motions otherwise scheduled):                         January 28, 2020

                 Wherefore, the United States respectfully requests the Court extend the

remaining deadlines set forth in the Scheduling Order due to constraints on

discovery related to COVID-19.




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                 DATED this 3rd day of August, 2020

                                                                   KURT G. ALME
                                                                   United States Attorney

                                                                   /s/   Tyson M. Lies
                                                                   Victoria L. Francis
                                                                   Tyson M. Lies
                                                                   Assistant U.S. Attorneys
                                                                   Attorneys for Defendant




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                                                                   CERTIFICATE OF SERVICE

     I hereby certify that on the 3rd day of August, 2020, a copy of the foregoing
document was served on the following person by the following means.

                    1, 2                            CM/ECF
                                                    Hand Delivery
                                                    U.S. Mail
                                                    Overnight Delivery Service
                                                    Fax
                                                    E-Mail

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                                                                              Attorney for Plaintiffs




                                                                           /s/ Tyson M. Lies
                                                                           Tyson M. Lies
                                                                           Assistant U.S. Attorney




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